           1:15-cv-01202-CSB # 260        Page 1 of 2                                           E-FILED
Judgment in a Civil Case (02/11)                                    Thursday, 18 April, 2019 04:55:32 PM
                                                                           Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                             for the
                                    Central District of Illinois

JOSHUA LEE HOSKINS,              )
                                 )
            Plaintiff,           )
                                 )
                   vs.           )                    Case Number: 15-1202
                                 )
JIM B. ATTIG, PATRICIA WEST      )
ABERARDO A. SALINAS,             )
SCOTT T. HOTTE, RANDY PFISTER, )
HASTINGS, G. FRENCH,             )
TERI KENNEDY, TROY MORSE,        )
TRAVIS BAYLER, GUY D. PIERCE,    )
PIERCE, J. OLSON, WEBBER,        )
SUSAN PRENTICE, HADSAIL,         )
MICHAEL MELVIN, JOHN WHEAT, )
V. TRANCOSO, D. SHULL, ZOOK,     )
POSEY, BLACKARD, HOBART,         )
R. DAVIDSON, COOPER, PIMIGINNIS, )
EUTSEY, DUANE BEAL,              )
SCOTT HOTE, SCHARDAN,            )
SHELTON, FORBES, WINEMILLER, )
ROBINSON, E. VILT, M. TAYLOR,    )
JOHN DOE-1, WILLIAM BREWER,      )
DAVIS, HITCHENS, D. MORONEY,     )
SM RENNER, ALLEN, T. NODINE,     )
BLACKWELL, LEROY, S. PUNKE,      )
TODD PUNKE, R. LORD, MEISTER, )
C. LEONARD, TODD, DALTON,        )
P. THORSON, MR. LONG, D. LEWIS, )
ROSENBERG, J. BOLAND, SKEENS, )
HENRY, T. WELLS,                 )
SALVADOR GODINEZ,                )
CO LINDSAY, J. BENNETT,          )
WHITECOTTON, D. RAINERI,         )
J. JAMES, CHAD BROWN, K. SHULL, )
JOHN DOE I,                      )
DONALD STOLWORTHY,               )
SARATT JOHNSON, MCCLURE,         )
R. SNYDER, LOVRANT, LOVRANT, )
GISH, T. SULLIVAN, THROP,        )
J. WATSON, P. GRIFFITH,          )
C. RAMSEY, B. SCHMELTZ, DOYLE, )
P. KRAUSHAAR, J. LILES,          )
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Judgment in a Civil Case (02/11)


J. HALLEY, AW LEWIS,             )
A. LEWIS, T. WILSON, J. NEWKIRK, )
M. NUDING, R. SLAYTON,           )
T. JAHNSEN, J. BELL, A. WILDER,  )
BIERBAUM, C. BRUBAKER,           )
HEDRICK, RUNYON,                 )
J. DRUNENBERG, WEHRLE,           )
R. RODRICK, W. WOODS,            )
MEREDITH, J. FISHER, C. PAUL,    )
D. HALL, MANS, UBLISH, K. MILLER,)
W. LEE, C. MILLER, MOLINERO,     )
KEENS, TUTORY, TORREZ,           )
BEAUPRE, DANIEL BAILEY,          )
HOWE, G. HENKEL, I. DOOLIN,      )
DAYTON, B. HOWARD, R. COLEY,     )
D. CARTER, D. BLANCHARD,         )
MEREDITH. J. BERRY, JONESON,     )
Z. SMITH, C. ROBERTS,            )
KEVIN WHEELER,                   )
ANABELLE MOTTELER,               )
NURSE DOE #1, and NURSE DOE #2, )
                                 )
            Defendants.          )

                                   JUDGMENT IN A CIVIL CASE

  ☒ JURY VERDICT. This action came before the Court for a trial by jury.           The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                This action came before the Court, and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that Plaintiff recover nothing on his claims against
Defendants and that this action is dismissed on its merits.

Dated: April 18, 2019

                                                    s/ Shig Yasunaga
                                                    Shig Yasunaga
                                                    Clerk, U.S. District Court


                                                    Approved: LE
